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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

             JUAN G. VIRAMONTES,                        ::   MOTION TO VACATE
                 Movant,                                ::   28 U.S.C. § 2255
                                                        ::
                    v.                                  ::   CRIMINAL NO.
                                                        ::   1:08-CR-0363-TWT-RGV-19
             UNITED STATES OF AMERICA,                  ::
                 Respondent.                            ::   CIVIL ACTION NO.
                                                        ::   1:12-CV-2212-TWT-RGV

                  ORDER FOR SERVICE OF REPORT AND RECOMMENDATION

                    Attached is the report and recommendation of the United States Magistrate

             Judge made in accordance with 28 U.S.C. § 636(b)(1) and this Court’s Local Rule 72.

             Let the same be filed and a copy, with a copy of this order, be served upon counsel for

             the parties.

                    Each party may file written objections, if any, to the report and recommendation

             within fourteen (14) days after being served with a copy of it. 28 U.S.C. § 636(b)(1).

             Should objections be filed, they shall specify with particularity the alleged error(s)

             made (including reference by page number to the transcript if applicable) and shall be

             served upon the opposing party. The party filing objections will be responsible for

             obtaining and filing the transcript of any evidentiary hearing for review by the district

             court. If no objections are filed, the report and recommendation may be adopted as the




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             opinion and order of the district court and any appeal of factual findings will be limited

             to a review for plain error or manifest injustice. United States v. Slay, 714 F.2d 1093

             (11th Cir. 1983) (per curiam).

                   The Clerk is DIRECTED to submit the report and recommendation with

             objections, if any, to the district court after expiration of the above time period.

                   IT IS SO ORDERED this 25th day of March, 2013.




                                                      RUSSELL G. VINEYARD
                                                      UNITED STATES MAGISTRATE JUDGE




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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

             JUAN G. VIRAMONTES,                       ::    MOTION TO VACATE
                 Movant,                               ::    28 U.S.C. § 2255
                                                       ::
                   v.                                  ::    CRIMINAL NO.
                                                       ::    1:08-CR-0363-TWT-RGV-19
             UNITED STATES OF AMERICA,                 ::
                 Respondent.                           ::    CIVIL ACTION NO.
                                                       ::    1:12-CV-2212-TWT-RGV

                              FINAL REPORT AND RECOMMENDATION

                   This matter is currently before the Court on movant Juan G. Viramontes’ pro

             se motion to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255,

             [Doc. 705], and supporting memorandum, [Doc. 719], the government’s response,

             [Doc. 727], and Viramontes’ reply, [Doc. 731]. For the following reasons, the

             undersigned RECOMMENDS that Viramontes’ § 2255 motion be denied.

                                       I. PROCEDURAL HISTORY

                   A federal grand jury in the Northern District of Georgia returned a 19-count

             indictment against Viramontes and several others involved in a drug trafficking and

             money laundering organization that operated between Mexico and Atlanta, Georgia.

             [Doc. 1]. Viramontes was charged in Count One with conspiracy to possess with the

             intent to distribute at least 5 kilograms of a mixture containing a detectible amount of




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             cocaine and/or 1000 kilograms of a mixture containing a detectible amount of

             marijuana, in violation of 21 U.S.C. §§ 841(b)(1)(A)(ii), 841(b)(1)(A)(vii), and 846;

             in Count Two with conspiracy to commit money laundering, in violation of 18 U.S.C.

             §§ 1956(a)(1)(A)(i), 1956(a)(1)(B)(i), and 1956(h); in Count Five with aiding and

             abetting money laundering in the amount of $1.1 million on April 18, 2008, in

             violation of §§ 1956(a)(1)(B)(i) and 2; and in Count Fourteen with aiding and abetting

             money laundering in the amount of $1.5 million on May 9, 2008, in violation of

             §§ 1956(a)(1)(B)(i) and 2. [Id.].

                   On July 17, 2009, Viramontes, represented by attorney Derek Jones, attempted

             to enter a guilty plea to Count Two, pursuant to a negotiated plea agreement in which

             the government had agreed to dismiss the remaining counts. [Doc. 723 at 1, 8]. After

             the prosecutor described the elements of the offense charged in Count Two, the Court

             asked Viramontes, who was speaking through an interpreter, to describe in his own

             words what he understood he was charged with in Count Two, and Viramontes replied,

             “That I knew where the money had come from. But it says that I knew, but actually

             I didn’t know.” [Id. at 12-13]. Because Viramontes stated that he did not know that

             the money came from unlawful activity, the Court refused to accept the plea. [Id. at

             14-15].

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                   Following a four day trial, the jury found Viramontes guilty on all counts.

             [Docs. 514, 517-20].      The Court imposed a total sentence of 235 months of

             imprisonment. [Doc. 580]. Still represented by Jones, Viramontes appealed, arguing

             that the sentence was unreasonable and that the Court erred by: (1) allowing Lieutenant

             David Noe and Sergeant Blake Swicord to testify as experts; (2) allowing co-

             conspirator Abraham Romero to testify regarding phone conversations between other

             co-conspirators when Romero was not a party to those conversations; (3) failing to

             give the good character jury charge that Viramontes requested; (4) giving the pattern

             charge on deliberate ignorance; and (5) denying his request to review the presentence

             investigation reports of similarly situated co-defendants. Br. of Appellant, United

             States v. Viramontes, No. 10-12808, 2010 WL 5145968, at *13-37 (11th Cir. Aug. 30,

             2010). The United States Court of Appeals for the Eleventh Circuit affirmed

             Viramontes’ conviction and total sentence on March 28, 2011. United States v.

             Viramontes, 419 F. App’x 938, 945 (11th Cir. 2011) (per curiam) (unpublished).

                   On June 25, 2012, Viramontes timely filed this pro se § 2255 motion. [Doc.

             705]. Construing the motion liberally, it appears that Viramontes raises the following

             grounds for relief: (1) counsel was ineffective at trial for failing to (a) object to the

             money laundering charges based on insufficient evidence and (b) present evidence

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             showing that there “was almost no link between the drug transportation from Mexico

             and the money [Viramontes] took”;1 (2) counsel was ineffective on appeal for failing

             to raise an insufficiency of evidence claim as to the money laundering charges; and

             (3) counsel’s ineffective advice caused Viramontes to reject the government’s plea

             offer. [Id. at 4-5, 7-8, 10; Doc. 719]. The government responds that Viramontes’

             motion is without merit. [Doc. 727 at 15-37]. Viramontes replies, reasserting the

             merits of his grounds for relief. [Doc. 731].

                                               II. DISCUSSION

             A.    Legal Standards

                   A federal prisoner may file a motion to vacate his sentence “upon the ground

             that the sentence was imposed in violation of the Constitution or laws of the United

             States, or that the court was without jurisdiction to impose such sentence, or that the

             sentence was in excess of the maximum authorized by law, or is otherwise subject to

             collateral attack.” 28 U.S.C. § 2255(a). “[T]o obtain collateral relief a prisoner must

             clear a significantly higher hurdle than would exist on direct appeal.” United States


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                     To the extent that Viramontes intended to raise the alleged lack of evidence
             linking the money he transported to drug proceeds as a due process claim, he is
             procedurally barred from raising it in this § 2255 motion because he did not raise it on
             direct appeal. Jones v. United States, 153 F.3d 1305, 1307 (11th Cir.1998).

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             v. Frady, 456 U.S. 152, 166 (1982) (footnote omitted). An evidentiary hearing is not

             warranted if “the motion and the files and records of the case conclusively show that

             the prisoner is entitled to no relief.” 28 U.S.C. § 2255(b). Based on the record before

             the Court, the undersigned finds that an evidentiary hearing is not required in this case.

             See Diaz v. United States, 930 F.2d 832, 834 (11th Cir. 1991) (noting that, although

             prisoner seeking collateral relief is entitled to evidentiary hearing if relief is warranted

             by facts he alleges, which court must accept as true, hearing is not required if record

             conclusively demonstrates that no relief is warranted).

                    The standard for evaluating ineffective assistance of counsel claims is set forth

             in Strickland v. Washington, 466 U.S. 668, 687 (1984); see also Eagle v. Linahan, 279

             F.3d 926, 938 (11th Cir. 2001) (applying Strickland to allegations of ineffective

             assistance of appellate counsel). The analysis is two-pronged. However, a court need

             not address both prongs “if the defendant makes an insufficient showing on one.”

             Strickland, 466 U.S. at 697. A defendant asserting a claim of ineffective assistance of

             counsel must first show that “in light of all the circumstances, the identified acts or

             omissions were outside the wide range of professionally competent assistance.” Id. at

             690. A court analyzing Strickland’s first prong must be “highly deferential” and must

             “indulge a strong presumption that counsel’s conduct falls within the wide range of

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             reasonable professional assistance.” Id. at 689; Atkins v. Singletary, 965 F.2d 952,

             958 (11th Cir. 1992) (“We also should always presume strongly that counsel’s

             performance was reasonable and adequate. . . .”) (citation omitted); see also Smith v.

             Murray, 477 U.S. 527, 536 (1986) (“[W]innowing out weaker arguments on appeal and

             focusing on those more likely to prevail . . . is the hallmark of effective appellate

             advocacy.”) (internal quotation marks and citation omitted).         Counsel is not

             incompetent so long as the particular approach taken could be considered sound

             strategy. Chandler v. United States, 218 F.3d 1305, 1314 (11th Cir. 2000) (en banc);

             see also Waters v. Thomas, 46 F.3d 1506, 1512 (11th Cir. 1995) (en banc) (“[A]

             petitioner seeking to rebut the strong presumption of effectiveness bears a difficult

             burden.”).

                   Second, a defendant must demonstrate that counsel’s unreasonable acts or

             omissions prejudiced him. “An error by counsel, even if professionally unreasonable,

             does not warrant setting aside the judgment of a criminal proceeding if the error had

             no effect on the judgment.” Strickland, 466 U.S. at 691. In order to demonstrate

             prejudice, a defendant “must show that there is a reasonable probability that, but for

             counsel’s unprofessional errors, the result of the proceeding would have been

             different.” Id. at 694. “A reasonable probability is a probability sufficient to

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             undermine confidence in the outcome.” Id.; see also Eagle, 279 F.3d at 943 (“To

             determine whether the [unreasonable] failure to raise a claim on appeal resulted in

             prejudice, we review the merits of the omitted claim.”).

             B.     Failure to Challenge the Money Laundering Charges at Trial

                    Viramontes first claims that counsel was ineffective for failing to argue that

             there was insufficient evidence to support the money laundering charges. [Doc. 705

             at 4]. Specifically, Viramontes contends that the Supreme Court’s decision in Cuellar

             v. United States, 553 U.S. 550 (2008), required the government to prove that he

             knowingly transported the money with the intent to conceal its source. [Doc. 719 at

             1-2]. Viramontes maintains that the evidence presented at trial established that he

             transported the money without knowing its source because, in accordance with the

             drug trafficking organization’s custom and practice, no one told him.2 [Id. at 2].

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                      Viramontes further argues that counsel should have objected to the Court’s
             purported instruction “that the jury could infer from the evidence that Viramontes
             knew that it was money from a drug transaction.” [Doc. 719 at 2]. The undersigned
             cannot locate this statement in the transcript of the Court’s instructions to the jury, [See
             Doc. 619 at 4-22], and thus, it is unclear to which portion of the Court’s jury
             instructions Viramontes objects. In any event, as discussed further in this section,
             Viramontes’ knowledge could be proven by circumstantial evidence. Additionally, the
             Court’s jury instructions on the money laundering charges correctly stated the elements
             for conviction. [See Doc. 619 at 11-17]. Thus, counsel’s decision not to raise this
             meritless objection was reasonable. See Freeman v. Attorney Gen. of Fla., 536 F.3d
             1225, 1233 (11th Cir. 2008) (“A lawyer cannot be deficient for failing to raise a

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                   In order to convict Viramontes of conspiracy to commit money laundering in

             violation of § 1956(h), the government had to prove beyond a reasonable doubt:

             “(1) agreement between two or more persons to commit a money-laundering offense;

             and (2) knowing and voluntary participation in that agreement by the defendant.”

             United States v. Broughton, 689 F.3d 1260, 1280 (11th Cir. 2012) (citation omitted).

                   Conspiracy may be proven by circumstantial evidence and the extent of
                   the defendant’s knowledge of details in the conspiracy does not matter if
                   the proof shows that he knew the essential objective of the conspiracy.
                   In the case of a conspiracy to launder money, the essential aspect of the
                   conspiracy charge is that the defendant knew that the funds involved in
                   the transactions represented the proceeds of unlawful activity.

             United States v. Molina, 413 F. App’x 210, 212 (11th Cir. 2011) (per curiam)

             (unpublished) (internal quotation marks and citations omitted). The object of the

             conspiracy charged in Count Two was conducting or attempting to conduct a financial

             transaction involving the proceeds of a specified unlawful activity (a) with the intent

             to promote the carrying on of the specified unlawful activity in violation of

             § 1956(a)(1)(A)(i), or (b) knowing that the transaction was designed to conceal or

             disguise the proceeds of the specified unlawful activity in violation of

             § 956(a)(1)(B)(i). [Doc. 1 at 3-4].



             meritless claim.”) (citation omitted).

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                   To convict Viramontes on the substantive money laundering counts charging

             violations of § 1956(a)(1)(B)(i), the government was required to prove beyond a

             reasonable doubt that Viramontes

                   (1) engaged in a financial transaction, (2) which he knew involved funds
                   that were the proceeds of some form of unlawful activity, (3) where the
                   funds involved in the financial transaction in fact were the proceeds of a
                   specified unlawful activity, and . . . (4) that [he] engaged in the financial
                   transaction knowing that the transaction was designed in whole or in part
                   to conceal or disguise the nature, location, source, ownership, or control
                   of the proceeds of such unlawful activity.

             Molina, 413 F. App’x at 212-13 (internal quotation marks and citations omitted). The

             Supreme Court held in Cuellar that the fourth element “requires proof that the

             purpose—not merely effect—of the transportation was to conceal or disguise a listed

             attribute.” Cuellar, 553 U.S. at 567; see also United States v. Kresler, 392 F. App’x

             765, 775 (11th Cir. 2010) (per curiam) (unpublished) (citing Cuellar in addressing

             whether the evidence was sufficient to support a conviction under § 1956(a)(1)(B)(i)).

             The Court explained:

                   In many cases, a criminal defendant’s knowledge or purpose is not
                   established by direct evidence but instead is shown circumstantially based
                   on inferences drawn from evidence of effect. Specifically, where the
                   consequences of an action are commonly known, a trier of fact will often
                   infer that the person taking the action knew what the consequences would
                   be and acted with the purpose of bringing them about.



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             Cuellar, 553 U.S. at 567 n.8 (citation omitted).

                   Viramontes claims that the evidence was insufficient to show (1) that he knew

             the proceeds were from some form of unlawful activity and (2) that he knew the

             purpose of the transactions was to conceal or disguise the nature, location, source,

             ownership, or control of the proceeds. [Doc. 705 at 4, 7-8; Doc. 719 at 1-3; Doc. 731

             at 4-5]. When reviewing a challenge to the sufficiency of the evidence, a court must

             determine “whether, after viewing the evidence in the light most favorable to the

             prosecution, any rational trier of fact could have found the essential elements of the

             crime beyond a reasonable doubt.” Jackson v. Virginia, 443 U.S. 307, 319 (1979)

             (emphasis in original). All reasonable inferences and credibility assessments must be

             drawn in the government’s favor. United States v. Silvestri, 409 F.3d 1311, 1327 (11th

             Cir. 2005). “[I]n reviewing the prosecution’s case, [the Court] draw[s] no distinction

             between circumstantial and direct evidence.” Id. at 1328.

                   Viramontes worked for the drug trafficking and money laundering organization

             as a truck driver. [Doc. 616 at 87-89]. As to Viramontes’ knowledge that he was

             transporting drug proceeds, co-conspirator Andres Cavasos testified that he supervised

             truck drivers involved in this organization, that he sent them to Atlanta to pick up drug

             money in April and May of 2008, and that the drivers generally knew that they were

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             transporting drug proceeds. [Doc. 617 at 114, 116-19]. Co-conspirator Abraham

             Romero testified regarding intercepted phone conversations, including one between

             co-conspirator Edgar Rodriguez and Viramontes in which they were “coming to an

             agreement with respect to a money delivery to the warehouse.” [Id. at 132, 136-37,

             146-47, 150, 152]. Romero further testified that, every time a tractor trailer came to

             the warehouse, it received money. [Id. at 159].

                   Additionally, Sergeant Swicord of the Georgia State Patrol, who was qualified

             as an expert in commercial vehicle drug trafficking and money laundering, testified

             that the activities involving the tractor-trailer driven by Viramontes on April 18, 2008

             did not comport with the requirements and conduct associated with a legitimate load.

             [Doc. 618 at 32-33, 36-44]. Sergeant Swicord listed several suspicious factors,

             including that when Viramontes backed the trailer up to the warehouse to be loaded

             he opened only one of the trailer doors, the loading time was only approximately four

             minutes, the trailer was loaded by non-uniformed workers who ran to an unmarked van

             and left as soon as they were done loading, and Viramontes did not appear to have any

             paperwork, which would be required for a legitimate load. [Id. at 39-44, 56-59].

             Sergeant Swicord also testified that, based on Viramontes’ ability to execute a Y-turn




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             and back the trailer into the right spot perfectly the first time, he appeared to be a very

             experienced driver. [Id. at 38-39].

                   Regarding Viramontes’ knowledge of the purpose of the transactions, Lieutenant

             Noe of the Drug Enforcement Administration, who was qualified as an expert in

             Mexico-based drug trafficking organizations operating in the metropolitan Atlanta

             area, testified that such organizations commonly send the proceeds earned from the

             sale of drugs in the United States back to Mexico, where it is easier to conceal the

             source. [Doc. 616 at 60, 74-80]. Lieutenant Noe further testified that the transporters

             of the money are “commonly aware” of this assistance that they are providing to these

             drug organizations. [Id. at 80].

                   Viewing the evidence in the light most favorable to the prosecution, a jury could

             properly infer from the testimony of his co-conspirators, the expert witnesses, and the

             circumstantial evidence regarding the unusual loading of the trailer that Viramontes

             knew that he was transporting drug proceeds for the purpose of concealing the

             ownership or control of the proceeds. See Cuellar, 553 U.S. at 567 n.8; Broughton,

             689 F.3d at 1280; Molina, 413 F. App’x at 212-13. Thus, counsel’s decision not to

             raise this meritless objection to the sufficiency of the evidence on the money

             laundering charges was reasonable. See Freeman, 536 F.3d at 1233.

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             C.    Failure to Rebut Link Between Money Transported and the Drug Proceeds

                   Viramontes next contends that counsel was ineffective at trial for failing to

             present evidence establishing that there “was almost no link between the drug

             transportation from Mexico and the money [Viramontes] took.” [Doc. 705 at 7-8; Doc.

             719 at 2-3]. Viramontes, however, fails to identify any available witnesses or evidence

             that counsel could have presented. [Id.]. To the extent that Viramontes contends that

             he could have testified that he did not know the money transported was drug proceeds,

             the record indicates that Viramontes knowingly and voluntarily elected not to testify

             after discussing the matter with counsel and concluding that testifying was not in his

             best interest. [Doc. 618 at 84-87]. Accordingly, Viramontes fails to show deficient

             performance by counsel or prejudice on this ground. See Strickland, 466 U.S. at 689-

             90, 694; Chandler, 218 F.3d at 1314.

             D.    Failure to Raise Sufficiency of Evidence as to the Money Laundering
                   Charges on Direct Appeal

                   Viramontes also maintains that he received ineffective assistance of counsel on

             appeal because counsel failed to raise an insufficiency of evidence claim as to the

             money laundering charges. [Doc. 705 at 5; Doc. 719 at 2]. As discussed already in

             section II. B., the evidence presented at trial was sufficient to support Viramontes’



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             money laundering convictions. Thus, counsel’s failure to raise this non-meritorious

             claim on appeal does not amount to constitutionally ineffective assistance. See

             Lambrix v. Singletary, 72 F.3d 1500, 1507 (11th Cir. 1996) (holding that appellate

             counsel’s failure to brief issues reasonably considered to be without merit did not

             constitute deficient performance). Accordingly, Viramontes is not entitled to relief on

             this ground.

             E.    Counsel’s Advice Regarding the Government’s Plea Offer

                   Finally, Viramontes contends that he rejected the government’s plea offer based

             on counsel’s failure to advise him of “the extent of the plea agreement.” [Doc. 705 at

             10; Doc. 719 at 3-4]. In his reply, Viramontes explains that he did not understand,

             prior to his appearance before the Court, that he would have to admit knowing “where

             the money that he transported came from.” [Doc. 731 at 2]. Viramontes asserts that

             had counsel explained all of the provisions of the plea agreement to him, he “would

             have stood by the signed agreement that was obviously to his benefit.” [Id. at 3].

                   Viramontes did not reject the government’s plea offer; rather, the Court refused

             to accept his plea after he denied knowing that the money came from unlawful activity.

             [Doc. 723 at 12-15]. Even assuming that counsel failed to clearly explain that

             Viramontes must admit such knowledge, the Court repeatedly informed him of this

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             requirement during the plea hearing. [Id. at 14-15]. Although Viramontes clearly

             understood during this exchange with the Court that he would have to admit

             knowledge in order for the Court to accept his plea, he still insisted that he did not

             know the money came from unlawful activity. [Id.].

                   In order to establish prejudice based on counsel’s allegedly incompetent advice

             regarding a plea offer,

                   a defendant must show that but for the ineffective advice of counsel there
                   is a reasonable probability that the plea offer would have been presented
                   to the court ( i.e., that the defendant would have accepted the plea and the
                   prosecution would not have withdrawn it in light of intervening
                   circumstances), that the court would have accepted its terms, and that the
                   conviction or sentence, or both, under the offer’s terms would have been
                   less severe than under the judgment and sentence that in fact were
                   imposed.

             Lafler v. Cooper, 132 S. Ct. 1376, 1385 (2012).           Viramontes’ “after the fact

             [statement] concerning his desire to plead, without more, is insufficient to establish

             that but for counsel’s alleged advice or inaction, he would have accepted the plea

             offer.” Diaz, 930 F.2d at 835.

                   Viramontes cannot show that he would have admitted knowing that the money

             came from unlawful activity but for the allegedly ineffective advice of counsel

             because, after the Court clearly explained that it would not accept a plea unless he



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             admitted that he knew the money came from unlawful activity, Viramontes insisted at

             least twice that he did not really know. [Doc. 723 at 14-15]. Indeed, Viramontes

             maintains in his motion and supporting memorandum that he did not know the money

             he transported came from drug trafficking. [Doc. 719 at 2]. Therefore, Viramontes

             fails to show that he would have accepted the plea offer had counsel clearly advised

             him of the knowledge element of his offenses. See Oliver v. United States, 292 F.

             App’x 886, 887 (11th Cir. 2008) (defendant “maintained his innocence throughout trial

             and during his sentencing, which undermines his claim that he would have consented

             to a plea agreement.”).

                                III. CERTIFICATE OF APPEALABILITY

                   Rule 22(b)(1) of the Federal Rules of Appellate Procedure provides that an

             applicant for § 2255 relief “cannot take an appeal unless a circuit justice or a circuit

             or district judge issues a certificate of appealability under 28 U.S.C. § 2253(c).” Rule

             11 of the Rules Governing Section 2255 Proceedings for the United States District

             Courts provides, “The district court must issue or deny a certificate of appealability

             when it enters a final order adverse to the applicant.” Section 2253(c)(2) of Title 28

             states that a certificate of appealability (“COA”) shall not issue unless “the applicant

             has made a substantial showing of the denial of a constitutional right.” A movant

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             satisfies this standard by showing “that reasonable jurists could debate whether (or, for

             that matter, agree that) the [motion] should have been resolved in a different manner

             or that the issues presented were ‘adequate to deserve encouragement to proceed

             further.” Miller-El v. Cockrell, 537 U.S. 322, 336 (2003).

                   Based on the foregoing discussion of Viramontes’ grounds for relief, the

             resolution of the issues presented is not debatable by jurists of reason, and the

             undersigned recommends that he be denied a COA.

                                              IV. CONCLUSION

                   For the foregoing reasons, IT IS HEREBY RECOMMENDED that this 28

             U.S.C. § 2255 motion to vacate sentence, [Doc. 705], and a COA be DENIED.

                   The Clerk is DIRECTED to terminate the referral of the § 2255 motion to the

             Magistrate Judge.

                   SO RECOMMENDED, this 25th day of March, 2013.



                                                     RUSSELL G. VINEYARD
                                                     UNITED STATES MAGISTRATE JUDGE




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